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                      UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
                                       )
      v.                               )            CRIMINAL NO. 03-80-P-H-02
                                       )
JANSYS FELIZ-TERRERO,                  )
                                       )
                   DEFENDANT           )


           ORDER ON DEFENDANT’S MOTION TO REDUCE SENTENCE


      The defendant has asked me to reduce the sentence I gave him on April 2,

2007, because of the retroactive crack guideline and the Supreme Court’s decision

in Kimbrough v. United States, 522 U.S. ___, 128 S. Ct. 558 (2007).              The

retroactive cocaine base (crack) Guideline amendment does not help this

defendant and Kimbrough does not justify my reopening the sentence

independently of the retroactive guideline. Accordingly, I DENY the motion.

      The defendant was sentenced under the 2002 Guidelines Manual. Although

the quantity of crack was between 500 grams and 1.5 kilograms, ordinarily

yielding a base offense level of 36, Guideline 2D1.1(a)(3) then reduced that base

offense level to a cap of 30, inasmuch as the defendant elsewhere received a

mitigating role reduction. Thus, although the new crack Guideline would start

him out at a lower base offense level of 34, the cap still would be 30. All the other

adjustments he received (safety valve; role reduction; acceptance of responsibility)

would still produce the same total offense level, 22, with a criminal history of I,
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and thus the same guideline range, 41 months to 51 months. See Guideline

1B1.10. According to the motion the defendant has filed (a pastiche of his plea

agreement, what appear to be newsletters or communications from defender

organizations, and assertions about his own sentence), he seems to think that he

received the benefit of a Guideline 5K1.1 motion at his original sentence. See

Def.’s Mot. Under 18 U.S.C. § 3582(c)(2) at 16-18 (Docket Item 112). The docket

and Judgment reveal that to be incorrect. Although the Federal Defender asked

me to give the defendant a lower variant (Booker) sentence, I declined and

sentenced him at the bottom of the guideline range, 41 months. That is exactly

where he should remain. There is no reason to apply Kimbrough retroactively.

      SO ORDERED.

      DATED THIS 27TH DAY OF FEBRUARY, 2008



                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




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